                        Case 8:20-bk-03470-CPM                  Doc 10        Filed 05/06/20         Page 1 of 3
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 20-03470-CPM
Dwayne Dixon Howard                                                                                        Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-8                  User: kbrickner                    Page 1 of 1                          Date Rcvd: May 04, 2020
                                      Form ID: Dntcdfnc                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 06, 2020.
db             +Dwayne Dixon Howard,   11920 Williams St,   Gibsonton, FL 33534-5546

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 06, 2020                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 4, 2020 at the address(es) listed below:
              Angela Welch    welchtrustee@gmail.com, aesposito@ecf.axosfs.com
              Douglas Jackson    on behalf of Debtor Dwayne Dixon Howard djackson@GetYourLegalAction.com
              United States Trustee - TPA7/13   USTPRegion21.TP.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
                        Case 8:20-bk-03470-CPM                 Doc 10    Filed 05/06/20     Page 2 of 3
[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                            Case No. 8:20−bk−03470−CPM
                                                                                  Chapter 7
Dwayne Dixon Howard



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On April 30, 2020 the above named Debtor filed a Voluntary Petition under Chapter 7 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

   Due to the impact of the Coronavirus, at this time the filing windows at the Courthouses are CLOSED. Debtors
who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court by email,
facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to file by email as there may be
delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.
Debtors may file papers in Tampa and Ft. Myers cases at the following addresses. If papers are filed by email or fax,
Debtor must also mail the papers to the Courthouse.

flmb−intake−tampa−ft−myers@flmb.uscourts.gov
(Fax) 813−301−5192
U.S. Bankruptcy Court
801 North Florida Avenue
Suite 555
Tampa, FL 33602

           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
           Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
           Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
           show cause order.

           The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
           service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
           U.S. Bankruptcy Court at the address indicated below.



                                                         FOR THE COURT
              Dated: May 4, 2020                         Sheryl L. Loesch , Clerk of Court
                                                         Sam M. Gibbons United States Courthouse
                                                         801 North Florida Avenue, Suite 555
                                                         Tampa, FL 33602
         Case 8:20-bk-03470-CPM                Doc 10       Filed 05/06/20        Page 3 of 3
The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
